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                    UNITED STATES DISTRICT COURT
                     SOUTHERN DISTRICT OF TEXAS
                         HOUSTON DIVISION

DENNIS SPURLING,

                                Plaintiff,

                   v.                        Civil Action No. 4:22-cv-01794

CINDY EILEEN WRIGHT AND                      SECOND SUPPLEMENTAL AND
JOHNATHAN E. DAVIS                           AMENDED COMPLAINT AND
                                             JURY DEMAND

                              Defendant.

     Plaintiff DENNIS SPURLING (“Plaintiff”) as and for his Second Supplemental

and Amended Complaint against Defendant CINDY EILEEN WRIGHT AND

JOHNATHAN E. DAVIS (“Defendants”) alleges the following:

                            NATURE OF THE CASE

      1.     This is a diversity action asserting Texas state law claims for slander

per se, slander, libel per se, and defamation, as a result of Defendants’ publication

of slanderous and defamatory statements regarding Plaintiff that are false, harmful,

and offensive to Plaintiff, as well as invasion of privacy – false light, intentional

infliction of emotional distress and unjust enrichment
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                                     PARTIES

      2.      Plaintiff is a citizen, domiciliary, and resident of the City of Missouri

City Fort Bend County, State of Texas.


       3.     Upon information and belief, Defendant Wright is a citizen,

 domiciliary, of Saint Mary Parish, in the Country of Jamaica.


       4.     Upon information and belief, Defendant Wright may be found at 824

 SW 147th Ave Pembroke Pines, FL 33027.


       5.     Upon information and belief, Defendant Davis is a domiciliary of the

 State of Aguascalientes, in the Country of Mexico and maintains on going and

 continuous connections with the State of Texas; And regularly does business

 broadcast and publishes his YouTube Channels “the Paper work Network”;

 “Count Down John” and “The Paper work party” from various cities and Counties

 within the State of Texas and within the Territorial bounds of the Southern District

 of Texas including but not limited to Dallas County, Fort Worth County and

 Harris County, the City of Mesquite, The City of Sunnyvale, The City of Dallas,

 the City of Houston, while utilizing the telephone number 1(469) 982 – 6639 and

 Texas based telephone number to allow participants to call in to the live and pre-

 recorded broadcast.



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       6.     Upon information and belief, Defendant Davis may be found at 4040

Beltline Road, Mesquite Texas 75182

                          JURISDICTION AND VENUE

       7.     This civil action is between Plaintiff, a citizen ofthe State of Texas,

and Defendant Wright, a citizen of the Country of Jamaica and Defendant Davis

is domiciled in the Country of Mexico, and the amount in controversy exceeds

seventy-five thousand dollars ($75,000), exclusive of interest and costs.

       8.     This Court has subject matter jurisdiction under 28 U.S.C. §

1332(a).

       9.     Wright is subject to personal jurisdiction of this Court in the State

of Texas and this judicial district because she committed a tortious act within the

State of Texas in this judicial district, including, but not limited to, the torts of

invasion of privacy – false light, defamation, and slander, inter alia, as

complained of herein.

       10.    A substantial part of the events giving rise to this claim occurred in

this judicial district.

       11.    Venue is proper in this District pursuant to 28 U.S.C. § 1391(b)(2).

                                     PARTIES

                          Plaintiff DENNIS SPURLING

       12.    Dennis Spurling, Plaintiff is a Civil Litigation Attorney licensed in



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 the State of Texas with a Legal: Law Master’s in Environmental and Energy

 Related Law.

      11.    In 2005, Plaintiff transitioned from his first job working in at a small

law firm in New Orleans, to working owing his own law firm practicing personal

injury law in Houston, Texas. Plaintiff is affiliated with a group of nationally known

lawyers and law firms that litigate Class – Action Lawsuits in various states in the

country.

      12.    Plaintiff, worked and sacrificed tremendously for the local community

in hope of building his name and reputation as a legal professional making a

difference in underserved communities.

      13.    Plaintiff is an active member of Greater True Vine Missionary Baptist

Church in 5th Ward, Houston, Texas and has sponsored multiple church events over

the years. Including but not limited to motivational speaking with aspiring career

focused law students. Plaintiff has appeared on local news with Isiah Carey on Fox

26 on multiple occasions to render legal opinions.

      14.    During the COVID-19 pandemic, Plaintiff commenced to build his

name brand with informative legal and social topic related videos.

Plaintiff has been successful in building his following on various social media

platforms including Facebook, Instagram, and YouTube.




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      15.    Plaintiff has amassed over 45, 000 subscribers on YouTube,

approximately 11,000 followers on Facebook, and around 5,000 followers on

Instagram. All of this has been done in under one (1) year.

      16.    Plaintiff has hired and retained a social media team, which is calculated

to magnify his current numbers by 100-fold over the next several years.

      17.    Plaintiff has been appointed and nominated to multiple Class Action

committees and is the owner of Dennis Spurling PLLC and Houston, Texas Based

Law Firm.

      18.    Plaintiff is working diligently to be appointed to Plaintiff’s Steering

Committee in various Class Actions pending around the nation. In addition, Plaintiff

is building his name brand, which will, in part, allow him to do personal Injury

litigation for high money judgment clients as to their respective claims.

      19.    Plaintiff, in raising his profile did videos with the likes of Kevin

Samuels in Miami, Florida, with an aspirational goal of becoming a legal advisor for

a major American television or cable network, including, but not limited to, CNN,

MSNBC, FOX News, etc.

                      Defendant CINDY EILEEN WRIGHT

      20.    Defendant CINDY EILEEN WRIGHT (hereinafter referred to as

“Wright” or “Defendant” or “Defendant Wright”) is of full age of majority.




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      21.    Defendant currently resides at 824 SW 147th Ave Pembroke Pines, FL

33027.

      22.    Defendant is the mother of (1) child: a 6 -year-old son EZS who she

shares with Plaintiff,

      23.    In February 2018, Plaintiff was awarded joint custody of EZS which

required Defendant Wright to travel to Houston, Texas, monthly. Defendant Wright

has refused abide by court ordered child custody decree and has fled the country and

absconded with the EZS on multiple occasions to avoid Service.

      24.    In March 2022, Plaintiff informed Wright that he intended to as for

modification of the Custody agreement and have EZS relocate to Fort Bend County,

Texas to attend school.

      25.    In April 2022, Plaintiff file an enforcement order in Broward County,

Florida to enforce the Texas Judgment ordering Joint Custody. Since that time server

of processes and private investigators have been actively searching for Defendant in

Florida and the Country of Jamaica where she has hidden out and is known to have

absconded with the EZS.

                  Defendant JOHNATHAN EDWARDS DAVIS

      26.    Defendant JOHNATHAN EDWARDS DAVIS (hereinafter referred to

as “Davis” or “Defendant” or “Defendant Davis”) is of full age of majority.




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Defendant currently domiciled in State of Aguascalientes, in the Country of

Mexico;

      27.    Defendant Davis is a lifetime resident of The of Texas and owner and

operator of a YouTube Channel entitled the “Paper Work Party Network which he

regularly broadcast and publishes from within the territorial bounds of the state of

Texas.

      28.    On May 30, 2022, Defendant Wright who stated that she was in Jamaica

at the time, contacted Defendant Davis at 1(469) 982 – 6639 a Texas based telephone

number and participated in an online interview subsequently published by Defendant

Johnathan Edwards Davis doing business as “the Paper Work Party Network”

entitled “Kevin Samuels Update: One on One with Dennis Spurling Baby Mama

(She Tells All and Clears the AIR) wherein both defendants implicated plaintiff in

the crime of murder of Kevin Samuels and wherein defendant Wright stated that

Plaintiff committed the crime of child abuse as to their son EZS stating that he “beat

their son from head to toe” in addition she was promised donations of $10,000.00

purportedly so that she can hire an attorney. https://youtu.be/4FAW71LS1HE

      29.    This video along with it’s accompanying snippets “Kevin Samuels

update: Part 1 Full Phone Conversation w/ Dennis Spurling Baby Momma in

Jamaica” and “Kevin Samuels update: Part 2 Full Phone Conversation w/ Dennis

Spurling Baby Momma in Jamaica” also posted on May 30, 2022



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https://youtu.be/CaMMgD8Rmr4 and https://youtu.be/l4TZ9D2AeMs which have

approximately 11,000 views at the time of filing.

      30.    As a result of this video other content creators have begun to make

videos encompassing these false statements; on June 1, 2022, the Mr. Palmer

Youtube Channel posted a video entitled “BMT tries to Clout Chase Saying He’s

Just A Friend. But You had A Baby By Him. https://youtu.be/9ZXzYcR4vqI which

has approximately 4,000 views at the time of filing.

Wright’s motives financial and vindictive and now having been made aware that

Plaintiff intended to file for custody of their child EZS.

      31.     It was at this point that Wright began to contrive and hatch a plan that

would allow her to bilk Plaintiff for as much money as possible in the form of Child

support and to attain 100% control and custody of their child EZS. In order for

Wright’s plan to work it was imperative that she disparage the name and reputation

of Plaintiff and avoid being served with the properly filed “Petition to Enforce

Judgement related to the 2018 Custody Agreement.

                DAMAGING AND DISPARAGING REMARKS

      32.    Defendant Wright and Davis are liable unto Petitioner for their own

negligence and jointly and inseparably negligent for the damages caused by the

negligence of the named defendants herein and now unknown at this time.




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      33.     Plaintiff emphatically denies these horrendous assertions that Plaintiff

has committed and or been convicted of the crimes Murder and Child Abuser made

by Davis and Wright, done in an attempt to bolster her claim and garner sympathy

from the public.

      34.     These are fraudulent, untruthful, defamatory, and slanderous statements

have been made to gain an unjust and unfair advantage for the purposes of financial

enrichment.

      35.     These false allegations have permanently damaged Plaintiff’s character

and reputation as a professional Trial attorney and a business owner.

      36.     As calculated these horrible accusations alleging heinous acts of

violence and abuse made basis of this lawsuit have damaged plaintiff’s reputation

and character.

      37.     In addition, these defamatory and slanderous statements and this attack

on Plaintiff’s reputation have left him emotionally distraught.

      38.     Specifically, Plaintiff, overwhelmed with depression fear and anxiety

has a result of these horrendous accusations of violence.

      39.     Furthermore, Plaintiff was forced to reduce his hours at his law office

and his online video presence; the emotional distress has left Plaintiff unavailable

mentally.




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      40.    Plaintiff’s emotional distress arising from Wright and Davis’

defamatory and slanderous statements have left Plaintiff unmotivated to exercise of

a regular basis, unable to sleep, and now Plaintiff uses food as coping mechanism

resulting in depression and the gaining of twenty (20) pounds, and he frequently ill.

      41.    Since Defendant’s defamatory statements were published Plaintiff has

lost business opportunities in the form of employment.

      42.    Upon information and belief, several of his potential client’s,

employers, interviewers, and would-be business associates, including, but not

limited to, those in the legal and media fields, having run routine background checks

using the world wide web, saw the false accusations made against Plaintiff by Wright

and Davis.

      43.    Several would-be followers on YouTube, Facebook, and Instagram

have unfollowed him citing these horrible accusations of violence and abuse made

basis of this lawsuit.

      44.    Plaintiff has been asked and may be forced to resign from his class

action committee position at the above-referenced hospital in anticipation of the bad

press and backlash, which would arise because of Plaintiff being allowed to remain

a committee member in light of the nature of these horrible false allegations made

by Defendant Wright and Davis.




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      45.    As a result of Wright and Davis false statements Plaintiff has been in

effect barred from getting an audition or any role in film or television playing the

role of personal or a job as a legal advisor to a major network or cable news outlet

because of the potential bad press and backlash.

      46.    For Plaintiff, even maintain a law practice has become difficult as

clients and would be clients use the world wide web to search for lawyers which lead

to these false allegations.

      47.    Wright and Davis in an attempt to gain an unfair advantage in a child

support and custody proceeding by making provably false sworn statements has

permanently destroyed plaintiff’s career which he has worked for decades to

achieve.

      a.     The aforementioned defamatory statements published by Wright

             and Davis have caused Plaintiff to suffer embarrassment,

             humiliation, mental anguish, and emotional distress.

      b.     The aforementioned defamatory statements distributed, published,

             and repeated by Wright and Davis have caused Plaintiff to suffer

             embarrassment, humiliation, mental anguish, and emotional

             distress.

      c.     The aforementioned defamatory statements published by Wright

             and Davis have also caused damage to Plaintiff’s reputation and


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              character within his profession and industry, including but not

              limited to among her fans and with prospective business relations.

     d.       The aforementioned defamatory statements distributed, published,

              and repeated by Wright and Davis have also caused damage to

              Plaintiff’s reputation and character within her profession and

              industry, including but not limited to among her fans and with

              prospective business relations.

      48.      At no time has Wright and Davis retracted and repudiated the

aforementioned defamatory statements.

      49.      Wright and Davis as of the date of filing of this Complaint, has failed

to and refused to retract and/or repudiate her aforementioned defamatory

statements.

      50.      As of this day, Wright and Davis have not issued any sort of

retraction or repudiation of the defamatory statements, nor has she apologized to

Plaintiff for them.

                                    COUNT I
                        (Slander Per Se Against Defendant)

      51.      Plaintiff repeats and realleges by reference the allegations in

paragraphs 1 through 50 as if fully set forth herein.

      52.      Upon information and belief, Wright and Davis published a



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 statement on YouTube on or around May 30, 2022.

          .     The aforementioned May 30, 2022, interview published by Wright

 and Davis contains multiple false and defamatory statements about Plaintiff.

          53.   Including that Plaintiff has committed the crimes of murder and an

 abuse.

          54.   None of the aforementioned statements about Plaintiff made by

 Wright and Davis are true.

          55.   Defendants knew that their statements were false at the time that

they published them, or Defendants was subjectively aware of the probable

falsity of their aforementioned statements at the time that they respectively

published them.

      56.         Upon information and belief, neither Wright nor Davis have

taken down or retracted the defamatory statements about Plaintiff made by

Defendant in their May 30, 2022 interview.

     57.        Upon information and belief, Wright and Davis knew prior to

publication that there was a likelihood that they was circulating false information

and/or entertained serious doubts as to the truth of the statements that were

published intheir defamatory May 30, 2022, publication.

     58.        Upon information and belief, Wright and Davis knew the statements

made in their defamatory May 30, 2022, publication was false or Wright and Davis


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acted with reckless disregard ofwhether their statements concerning Plaintiff were

true or not.

     59.        Upon information and belief, Wright and Davis knew the statements

made in their defamatory May 30, 2022, interview were false, or Wright and Davis

acted with reckless disregard of whether their statements concerning Plaintiff were

true or not.

     60.        Upon information and belief, Defendants published these false

statements and identified Plaintiff by his professional title, his name, his

occupation, in their May 30, 2022 interview(s) so that individuals who researched

him would know the statements made were about Plaintiff.

     61.         Upon information and belief, Defendants’ false statements were

generatedand communicated with actual malice, total disregard for the truth, and

in the complete absence of any special privilege.

    62.        Upon information and belief, Wright and David had no basis for the

defamatory statements made were true.

    63.         Upon information and belief, the defamatory statement has been

viewed by thousands of people.

    64.         Upon information and belief, Defendants’ defamatory statements

concerning Plaintiff are stillavailable to be viewed by the public.



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    65.       Upon information and belief, these actions constitute

actionable slander per se.

     66.      Upon information and belief, Defendants’ false and

defamatory statements made and published in Defendants’ defamatory May

30, 2022, interview were disparaging andhave produced damage to Plaintiff

and to Plaintiff's name, character, and reputation.

    67.       The defamatory statements made and published by Wright and

Davis have caused Plaintiff to suffer embarrassment, humiliation, mental

anguish,and emotional distress.

     68.      The aforementioned defamatory statements made, published,

and distributed by Wright and Davis have caused Plaintiff to suffer

embarrassment, humiliation,mental anguish, and emotional distress.

     69.      The aforementioned defamatory statements made and

published by Wright and Davis have also caused damage to Plaintiff’s

reputation and character within his profession and industry, including but not

limited to among his clients, fans and with prospective business relations.

    70.       The aforementioned defamatory statements made, published,

and distributed by Wright and Davis have also caused damage to Plaintiff’s

reputation and character within his profession and industry, including but not

limited to among his fans and with prospective business relations.



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     71.       Upon information and belief, the actions or omissions of

Defendants set forth in this Complaint demonstrate malice, egregious

defamation, and insult.

     72.       Upon information and belief, such actions or omissions by

Defendants were undertaken with reckless disregard of the falsity of the

speech and its effects on Plaintiff.

     73.       As a direct and proximate result of Defendants’ conduct,

Plaintiff has suffered and continues to suffer damages in an amount to be

proven at trial.

     74.       Plaintiff is entitled to general and special damages for the

following harm: embarrassment, humiliation, mental anguish, and emotional

distress and impairment to her name, character, and reputation.

     75.       Additionally, Plaintiff requests an award of punitive damages

and attorneys’ fees and litigation expenses beyond and in excess of those

damages necessary to compensate Plaintiff for injuries resulting from

Defendant’s conduct.

    76.        Additionally, as a direct and proximate result of the foregoing,

Plaintiff is entitled to an order permanently enjoining Defendants and all

their respective agents, officers, employees, representatives, successors,

assigns, attorneys, and all other persons acting for, with, by, through, or



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under authority from Wright and Davis or in concert or participation with

Wright and Davis and each of them, from: making, disseminating,

broadcasting, or publishing any statements that Plaintiff committed the

crimes of murder of child abuse as stated in the May 30, 2022 interview, as

well as an order requiring Wright and Davis to retract, remove, and repudiate

in full all defamatory and disparaging statements made regarding Plaintiff.

                                    COUNT II
                            (Slander Against Defendant)

      77.      Plaintiff repeats and realleges by reference the allegations in

paragraphs 1 through 76 as if fully set forth herein.

      78.      Upon information and belief, Defendants’ above-listed actions

constitute actionable slander.

      79.      Upon information and belief, Defendants’ false and defamatory

statements made in her above-referenced May 30, 2022, interview were disparaging

and have produced damage to Plaintiff and to Plaintiff’s name, character, and

reputation.

      80.     Upon information and belief, Defendants were subjectively aware of

the probable falsity of the statements made during her above-referenced May 30,

2022, interview concerning Plaintiff at the time that she published them.

      81.     Upon information and belief, Defendants’ actions as set forth in this

Complaint demonstrate malice, egregious defamation, and insult.

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      82.       Upon information and belief, such actions or omissions by Defendants

were undertaken with reckless disregard of the falsity of the speech and its effects

on Plaintiff.

      83.       As a direct and proximate result of Defendant’s conduct, Plaintiff has

suffered and continues to suffer damages in an amount to be proven at trial.

      84.       The defamatory statements made and published by Wright and Davis

have caused Plaintiff to suffer embarrassment, humiliation, mental anguish, and

emotional distress.

      85.       The aforementioned defamatory statements made, published, and

distributed by Wright and Davis have caused Plaintiff to suffer embarrassment,

humiliation, mental anguish, and emotional distress.

      86.       The aforementioned defamatory statements made and published by

Wright and Davis have also caused damage to Plaintiff’s reputation and character

within his profession and industry, including but not limited to among his fans and

with prospective business relations.

      87.       The aforementioned defamatory statements made, published, and

distributed by Wright and Davis have also caused damage to Plaintiff’s reputation

and character within his profession and industry, including but not limited to among

his fans and with prospective business relations.




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       88.   Plaintiff is entitled to general and special damages for the following

harm: embarrassment, humiliation, mental anguish, and emotional distress and

impairment to his name, character, and reputation.

       89.   Additionally, Plaintiff requests an award of punitive damages and

attorneys’ fees and litigation expenses beyond and in excess of those damages

necessary to compensate Plaintiff for injuries resulting from Defendants’ conduct.

       90.   Additionally, as a direct and proximate result of the foregoing, Plaintiff

is entitled to an order permanently enjoining Defendants and all their respective

agents, officers, employees, representatives, successors, assigns, attorneys, and all

other persons acting for, with, by, through, or under authority from Wright and

Davis, or in concert or participation with Wright and Davis, and each of them, from:

making, disseminating, broadcasting, or publishing any statements that Plaintiff has

committed the crime of murder and the crime of child abuse as stated in the May 30,

2022, interview, as well as an order requiring Wright and Davis to retract, remove,

and repudiate in full all defamatory and disparaging statements made regarding

Plaintiff.

                                     COUNT III

                         (Libel Per Se Against Defendant)

       91.   Plaintiff repeats and realleges by reference the allegations in paragraphs

1 through 134 as if fully set forth herein.



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      92.    Upon information and belief, Wright and Davis published her interview

concerning Plaintiff on or around May 30, 2022.

      93.    Upon information and belief, Wright and Davis published these false

statements via a May 30, 2022, interview on the Paper Work Party Network hosted

by Defendant Johnathan Edwards Davis entitled “Kevin Samuels Update: One on

One with Dennis Spurling Baby Mama (She Tells All and Clears the AIR)

      94.    As set forth above, the statements made in Defendants’ May 30, 2022,

interviews contain false, defamatory, and libelous statements regarding Plaintiff,

including that Plaintiff has or had committed the crime of murder against Kevin

Samuels and committed the Crime of Child Abuse against their child EZS.

      95.    None of the aforementioned statements about Plaintiff in Defendants’

May 30, 2022, interviews are true.

      96.    Upon information and belief, Defendants knew these statements to be

false at the time they respectively published them or acted with reckless disregard of

whether they were true or not.

      97.    Upon information and belief, Defendants were subjectively aware of

the probable falsity of the aforementioned statements at the time she published them.

      98.    Upon information and belief, Defendants’ false statements were

generated and communicated with actual malice, total disregard for the truth, and in

the complete absence of any special privilege.



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      99.    Upon information and belief, Defendants had no basis for claiming the

aforementioned statements were true.

      100. Upon information and belief, Defendants’ May 30, 2022, interviews

containing the subject statements have been viewed by thousands of people.

      101. Upon information and belief, these actions constitute actionable libel

per se.

      102. Upon information and belief, Defendants’ false and defamatory

statements made in the subject May 30, 2022, interviews were disparaging and have

produced damage to Plaintiff and to Plaintiff’s name, character, and reputation.

      103. The aforementioned defamatory statements made and published by

Defendant have caused Plaintiff to suffer embarrassment, humiliation, mental

anguish, and emotional distress.

      104. The aforementioned defamatory statements published by Defendants

have also caused damage to Plaintiff’s reputation and character within his profession

and industry, including but not limited to among his fans and with prospective

business relations.

      105. Upon information and belief, the actions or omissions of Defendants

set forth in this Complaint demonstrate malice, egregious defamation, and insult.




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      106. Upon information and belief, such actions or omissions by Defendants

were undertaken with reckless disregard of the falsity of the speech and its effects

on Plaintiff.

      107. As a direct and proximate result of Defendants’ conduct, Plaintiff has

suffered damages in an amount to be proven at trial.

      108. Plaintiff is entitled to general and special damages for the following

harm: embarrassment, humiliation, mental anguish, and emotional distress and

impairment to her name, character, and reputation.

      109. Additionally, Plaintiff requests an award of punitive damages and

attorneys’ fees and litigation expenses beyond and in excess of those damages

necessary to compensate Plaintiff for injuries resulting from Defendants’ conduct.

      110. Additionally, as a direct and proximate result of the foregoing, Plaintiff

is entitled to an order permanently enjoining Defendants and all her respective

agents, officers, employees, representatives, successors, assigns, attorneys, and all

other persons acting for, with, by and through, or under authority from Wright or in

concert or participation with Wright and Davis, from: making, disseminating,

broadcasting, or publishing any statements that Plaintiff has committed the crimes

of murder or the crime child abuse as stated in the May 30, 2022, interview, as well

as an order requiring Wright and Davis to retract, remove, and repudiate in full all

defamatory and disparaging statements made regarding Plaintiff.



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                                     COUNT IV

               (Invasion of Privacy – False Light Against Defendant)

       111. Plaintiff repeats and realleges by reference the allegations in paragraphs

1 through 110 as if fully set forth herein.

       112. Upon information and belief, by publishing the false statements in the

manner described above, Defendant portrayed Plaintiff in a false light intending to

cause Plaintiff injury.

       113. Upon information and belief, Wright and Davis knew these statements

to be false.

       114. Upon information and belief, Wright and Davis made no attempt to

verify the veracity of any statements made regarding Plaintiff.

       115. Upon information and belief, Wright and Davis knew the statements

made in the May 30, 2022, interview were false

       116. Upon information and belief, Wright and Davis was subjectively aware

of probable falsity of the statements made in the above referenced May 30, 2022,

interviews were false at the time she published them.

       117. Upon information and belief, Defendants’ false statements were

generated and communicated with actual malice, total disregard for the truth, and in

the complete absence of any special privilege.




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      118. Upon information and belief, as set forth above Defendants have

intentionally intruded upon the solitude and/or seclusion of Plaintiff and his private

affairs and/or concerns, and this intrusion, which falsely portrays Plaintiff having a

murderous violent disruptive or volatile character, is highly offensive to a reasonable

person.

      119. Upon information and belief, Defendants have also intentionally

intruded upon the solitude and/or seclusion of Plaintiff and his private affairs and/or

concerns, and this further intrusion, which falsely portrays Plaintiff as being a

criminal who has committed murder and child abuse both crimes under the Texas

penal statue is highly offensive to a reasonable person.

      120. Upon information and belief, Defendants knew or should have known

the statements alleged herein would create a false impression about Plaintiff and

acted in reckless disregard of the truth.

      121. Upon information and belief, Defendants did not engage in any of the

aforementioned conduct out of any sincere or proper motive, or in any manner

governed by reasonable and ministerial conduct according to any job duty, but did

so knowingly, willfully, and oppressively, with full knowledge of the adverse effects

that her actions would have on Plaintiff, and with willful and deliberate disregard

for the consequences. Accordingly, Plaintiff is entitled to recover punitive damages

from Defendant in an amount to be determined at trial.



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      122. Upon information and belief, the actions or omissions of Defendants

set forth in this Complaint demonstrate malice, egregious defamation, and insult.

Such actions or omissions by Defendants were undertaken with reckless disregard

of the falsity of the speech and its effects on Plaintiff.

      123. As a direct and proximate result of Defendants’ conduct, Plaintiff has

suffered and continues to suffer damages in an amount to be proven at trial.

      124. Plaintiff is entitled to general and special damages for the following

harm: embarrassment, humiliation, mental anguish, and emotional distress and

impairment to his name, character, and reputation.

      125. Additionally, Plaintiff requests an award of punitive damages and

attorneys’ fees and litigation expenses beyond and in excess of those damages

necessary to compensate Plaintiff for injuries resulting from Defendants’ conduct.

      126. Additionally, as a direct and proximate result of the foregoing, Plaintiff

is entitled to an order permanently enjoining Defendants and all their respective

agents, officers, employees, representatives, successors, assigns, attorneys, and all

other persons acting for, with, by, through or under authority from Wright and Davis,

or in concert or participation with Wright and Davis, and each of them, from:

making, disseminating, broadcasting, or publishing any statements that Plaintiff has

committed the crimes of murder or the crime child abuse as stated in the May 30,




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2022, interview, as well as an order requiring Wright and Davis remove in full all

defamatory and disparaging statements made regarding Plaintiff.

                                      COUNT V

                   (Intentional Infliction of Emotional Distress)

      127. Plaintiff repeats and realleges by reference the allegations in paragraphs

1 through 126 as if fully set forth herein.

      128. Upon information and belief, by making and publishing the defamatory

statements, disparage plaintiff name and reputation destroy his character and raise

money in the amount of $10,000.00 purportedly for legal fees, as described above

Defendant intended to cause Plaintiff emotional distress.

      129. Upon information and belief, Defendants’ conduct was intentional, as

Defendants knew these statements were false and made no attempt to verify the truth

of any statements made regarding the Plaintiff.

      130. Upon information and belief, Wright and Davis knew the statements

made in the May 30, 2022, interviews were extreme and outrageous and would cause

the Plaintiff severe emotional distress.

      131. Upon information and belief, Wright and Davis have published her May

30, 2022, interviews against the Plaintiff, which were intended to cause humiliation,

mental anguish and emotional distress in the Plaintiff.




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      132. Upon information and belief, Defendants’ conduct was extreme and

outrageous as Defendant’s purposely published statements that she knew would

cause severe emotional distress, including but not limited to stating that Plaintiff has

or had committed the crime of murder and child abuse.

      133. Upon information and belief, Defendants’ conduct was intentional as

Defendants intended to benefit financially and socially from Plaintiff’s severe

emotional distress.

      134. Upon information and belief, since Wright and Davis began her

campaign against Plaintiff, and has been awarded substantially through the receipt

of contributions from viewers in an amount in excess of $10,000.00 which has

allowed her to obtain and lawyer and again abscond to Jamaica with EZS

      135. Upon information and belief, Wright and Davis conduct was intentional

as Wright intended to garner sympathy from the public and in return be gifted

donations, and as a result of her outrageous and harassing conduct against the

Plaintiff and has now been able to do so.

      136. Upon information and belief, Wright and Davis began her campaign

against the Plaintiff to gain sympathy and favor in the public eye and increase the

likelihood that she could be granted a favorable judgement of child support.




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      137. Upon information and belief, Wright and Davis’ conduct was

intentional as Wright and Davis have achieved their goal using the defamatory

statements made about the Plaintiff.

      138. As a proximate result of defendants’ actions and the consequences

proximately cause by her, as herein above alleged, Plaintiff suffered severe

humiliations, severe mental anguish, and severe emotional distress.

      139. As a direct and proximate result of Defendants’ conduct, Plaintiff has

suffered damages in an amount to be proven at trial.

      140. Plaintiff is entitled to general and special damages for the following

harm: embarrassment, humiliation, mental anguish, and severe emotional distress.

      141. Additionally, Plaintiff requests an award of punitive damages and

attorneys’ fees and litigation expenses beyond and in excess of those damages

necessary to compensate Plaintiff for injuries resulting from Defendants’ conduct.

      142. Additionally, as a direct and proximate result of the foregoing, Plaintiff

is entitled to an order permanently enjoining Defendants and all their respective

agents, officers, employees, representatives, successors, assigns, attorneys, and all

other persons acting for, with, by, through or under authority from Wright, or in

concert or participation with Wright and Davis, and each of them, from: making,

disseminating, broadcasting, or publishing any harassing statements about the




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Plaintiff that have caused emotional distress, as well as an order requiring Wright

remove in full all such previously made statements.

                                     COUNT VI

                                (Unjust Enrichment)

      143. Plaintiff repeats and realleges by reference the allegations in paragraphs

1 through 142 as if fully set forth herein.

      144. Upon Information viewers of the May 30, 2022, interview of provided

thousands of dollars in donations in favor of Wright and Davis based all or in part

on the defamatory, fraudulent and erroneous Statements in the subject May 30, 2022

interview; Wright and Davis have knowingly and willingly accepted and enjoyed

these benefits;

      145. Wright and Davis either knew or should have known that her Scheme

would lead to this outcome.

      146. As such, it would be inequitable for Wright and Davis to retain theses

proceeds and benefit payments under these circumstances.

      147. Wright and Davis’ acceptance and retention of these benefits under the

circumstances alleged herein make it inequitable for Wright and Davis to retain the

benefits without payment of the value to Plaintiff.

      148. Plaintiff is entitled to recover from Wright and Davis all amounts

wrongfully collected and improperly retained by Wright and Davis.



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      149. Plaintiff seeks actual damages, exemplary damages, injunctive and

declaratory relief, attorneys’ fees, costs, and any other just and proper relief available

under the laws.

                                     COUNT VII

       (Exemplary Damages against Defendant Pursuant to Sec. 41.003)

      150. Plaintiff repeats and realleges by reference the allegations in paragraphs

1 through 149 as if fully set forth herein.

      151. Defendants’ actions demonstrate willful misconduct, malice, fraud,

wantonness, oppression, and conscious indifference to the consequences of their

actions.

      152. Upon information and belief, Defendants acted with a specific intent to

cause harm to Plaintiff.

      153. Plaintiff seeks punitive damages to punish, penalize, and deter

Defendant’ actions in an amount that exceeds $250,000.00.

                                     COUNT VIII

           (Attorneys’ Fees and Litigation Expenses against Defendants)

      154. Plaintiff repeats and realleges by reference the allegations in paragraphs

1 through 153 as if fully set forth herein.

      155. Defendants have acted in bad faith by publishing defamatory

statements they knew to be false and would cause harm to Plaintiff and have been



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stubbornly litigious and have caused Plaintiff unnecessary trouble and expense by

refusing to retract such statements.

        156. Plaintiff seeks her attorneys’ fees and expenses of litigation.

                                       COUNT IX

                    (Declaratory Judgment against Defendant)

        157. Plaintiff repeats and realleges by reference the allegations in paragraphs

1 through 158 as if fully set forth herein.

        158. That Plaintiff ask that a Declaratory Judgment be granted in favor of

Plaintiff and against the Defendants, Wright and Davis stating that:

        159. On May 30, 2022, when Wright and Davis participated in an online

interview on the Paper Work Party Network hosted by Defendant Johnathan

Edwards Davis entitled “Kevin Samuels Update: One on One with Dennis Spurling

Baby Mama (She Tells All and Clears the AIR) wherein she implicated plaintiff in:

        a.    They stated and/or inferred that Plaintiff committed the crime of murder

of Kevin Samuels; and

        b.    They stated and/or inferred that Plaintiff committed the crime of child

abuse as to their son EZS stating that he beat my son from head to toe”

        160. In addition, Plaintiff Dennis Spurling seeks a declaration by this court

that:




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     a.     Wright and Davis knew prior to publication that there was a

            likelihood that they were circulating false information and/or

            entertained serious doubts as to the truth of the statements that were

            published in their defamatory May 30, 2022, interview.

      b.    Wright and Davis knew the statements made in their defamatory May

            30, 2022, interview were false or Wright and Davis acted with

            reckless disregard of whether their statements concerning Plaintiff

            were true or not.

      c.    Wright and Davis published these false statements and identified

            Plaintiff by his professional title, his name, his occupation, in their

            May 30, 2022, interview(s) so that individuals who researched him

            would know the statements made in the interview were about

            Plaintiff.

     d.    Wright and Davis’ false statements were generated and communicated

            with actual malice, total disregard for the truth, and in the complete

            absence of any special privilege.

      e.    Wright and Davis had no basis for the defamatory sworn statements

made were true.

      f.    Wright and Davis published and her false statement in a calculated

            attempt to gain a financial advantage:


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      g.     Wright and Davis published and their false statement in a calculated

             attempt to help gain an advantage in Wright’s child – custody

             proceedings;

      161. Defendant Wright and Davis have been Unjustly Enriched as fully set

forth herein in paragraphs 1- through 160.

                             PRAYER FOR RELIEF

      WHEREFORE, Plaintiff respectfully requests that this Second Supplemental

and Amended Complaint replace and supplant all previously filed Complaints and

that the defendants be Served with the Same and then the Court to enter judgment in

his favor of Plaintiff and against Defendants, as follows:

      (a)    Awarding Plaintiff damages in amounts pertaining to each to be

determined at trial, but not less than $75,000, including general, special,

consequential, actual, and exemplary damages.

      (b)    Awarding an accounting to Plaintiff for the gains and profits of

Defendant arising from the unlawful conduct.

      (c)    Permanently enjoining Defendants and their respective partners,

agents, representatives, successors, assigns and employees, and any and all persons

in active convert or participation with Defendants, and each of their executors,

administrators, successors, licensees, assigns, subsidiaries, parents, affiliates,

divisions,   co-venturers,   partners,   officers,   directors,   employees,   agents,



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shareholders, managers, representatives, consultants, and any and all other persons,

corporations, or other entities acting under the supervision, direction, control, or on

behalf of any of the foregoing, and each of them, from: making, disseminating,

broadcasting, or publishing any statements that Plaintiff has committed the crimes

of murder or the crime child abuse as stated in the May 30, 2022, interview;

      (d)    Issuing an order requiring Wright and Davis to retract, remove, and

repudiate in full all defamatory and disparaging statements made regarding Plaintiff.

      (e)    Issuing an order requiring Wright and Davis to retract, remove, and

repudiate in full all defamatory and disparaging statements made regarding Plaintiff.

      (f)    Awarding Plaintiff’s attorneys’ fees and costs.

      (g)    Pre-judgment and post-judgment interest.

      (h)    A declaration as fully set forth herein in paragraphs 157 through 161;

      (i)    Damages equal to the amount that has been and will be wrongfully

collected and improperly retained by Wright and Davis plus interest thereon;

      (j)    Granting Plaintiff such other and further relief as the Court deems just

and proper and as allowed under the laws of The State of Texas and the United States

Constitution and the laws of these United States of America.

                           JURY TRIAL DEMANDED

      Plaintiff hereby demands a trial by jury on all issues so triable.




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                                     Respectfully submitted,


                                      The Axel Law Firm PLLC

                                       /s/Jeremy Axel, Esq.
                           By     ______________________________
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PLEASE SERVE:

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